      Case 1:22-cv-22538-RKA Document 3 Entered on FLSD Docket 08/11/2022 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Southern District
                                                    __________  District of
                                                                         of Florida
                                                                            __________

Pierce Robertson, Rachel Gold, Sanford Gold, Rahil                  )
 Sayed, Christopher Ehrentraut, Todd Manganiello,                   )
Dan Newsom, William Ayer, Anthony Dorn, Dameco                      )
Gates, Marshall Peters, and Edwin Garrison, on beha                 )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:22-cv-22538
                                                                    )
 Mark Cuban, Dallas Basketball Limited, d/b/a Dallas                )
         Mavericks, and Stephen Ehrlich,
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mark Cuban
                                           5424 Deloache Ave.
                                           Dallas, Texas 75220




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Adam Moskowitz
                                           THE MOSKOWITZ LAW FIRM, PLLC
                                           2 Alhambra Plaza, Suite 601
                                           Coral Gables, FL 33134
                                           Service@moskowitz-law.com - Telephone: (305) 740-1423


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


                  08/11/2022                                                                             s/ S. Walker
Date:
                                                                                         Signature of Clerk or Deputy Clerk
      Case 1:22-cv-22538-RKA Document 3 Entered on FLSD Docket 08/11/2022 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Southern District
                                                    __________  District of
                                                                         of Florida
                                                                            __________

Pierce Robertson, Rachel Gold, Sanford Gold, Rahil                    )
 Sayed, Christopher Ehrentraut, Todd Manganiello,                     )
Dan Newsom, William Ayer, Anthony Dorn, Dameco                        )
Gates, Marshall Peters, and Edwin Garrison, on beha                   )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:22-cv-22538
                                                                      )
 Mark Cuban, Dallas Basketball Limited, d/b/a Dallas                  )
         Mavericks, and Stephen Ehrlich,
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Dallas Basketball Limited, d/b/a Dallas Mavericks
                                           Registered Agent: Capitol Corporate Services, Inc.
                                           1501 S Mopac Expy.
                                           Suite 220
                                           Austin, TX 78746



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Adam Moskowitz
                                           THE MOSKOWITZ LAW FIRM, PLLC
                                           2 Alhambra Plaza, Suite 601
                                           Coral Gables, FL 33134
                                           Service@moskowitz-law.com - Telephone: (305) 740-1423


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


                  08/11/2022                                                                                s/ S. Walker
Date:
                                                                                           Signature of Clerk or Deputy Clerk
      Case 1:22-cv-22538-RKA Document 3 Entered on FLSD Docket 08/11/2022 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Southern District
                                                   __________  District of
                                                                        of Florida
                                                                           __________

Pierce Robertson, Rachel Gold, Sanford Gold, Rahil                  )
 Sayed, Christopher Ehrentraut, Todd Manganiello,                   )
Dan Newsom, William Ayer, Anthony Dorn, Dameco                      )
Gates, Marshall Peters, and Edwin Garrison, on beha                 )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 1:22-cv-22538
                                                                    )
 Mark Cuban, Dallas Basketball Limited, d/b/a Dallas                )
         Mavericks, and Stephen Ehrlich,
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Stephen Ehrlich
                                           33 Irving Plaza,
                                           Suite 3060
                                           New York, NY 10003




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Adam Moskowitz
                                           THE MOSKOWITZ LAW FIRM, PLLC
                                           2 Alhambra Plaza, Suite 601
                                           Coral Gables, FL 33134
                                           Service@moskowitz-law.com - Telephone: (305) 740-1423


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


                                                                                                         s/ S. Walker
Date:             08/11/2022
                                                                                        Signature of Clerk or Deputy Clerk
